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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION

JONATHON DWAYNE HOBBS,                                                           PLAINTIFF
ADC # 167191

v.                                 2:22CV00224-DPM-JTK

ARKANSAS COUNTY DETENTION
CENTER, et al.                                                               DEFENDANTS

                                              ORDER

       Having reviewed Jonathon DWayne Hobbs’s (“Plaintiff”) Complaint, as amended (Doc.

No. 1, 5) for screening purposes, 1 the Court concludes service of Plaintiff’s condition of

confinement claims against Defendants Dean Mannis, Tyran McCradic, Clayton Evans, Jemarian

Kennedy, and Justin Midkiff is appropriate.

       IT IS, THEREFORE, ORDERED that the Clerk of the Court shall prepare Summonses for

Defendants Dean Mannis, Tyran McCradic, Clayton Evans, Jemarian Kennedy, and Justin

Midkiff. The United States Marshal shall serve a copy of the Complaint (Doc. Nos. 1, 5),

Summons, and this Order on each of these Defendants without prepayment of fees and costs or

security therefore. Service should be attempted through the Arkansas County Detention Center,

1000 Ricebelt Avenue, DeWitt, AR 72042.

       Dated this 17th day of February, 2023.


                                                  ____________________________________
                                                  JEROME T. KEARNEY
                                                  UNITED STATES MAGISTRATE JUDGE



       1The Prison Litigation Reform Act (“PLRA”) requires federal courts to screen prisoner
complaints seeking relief against a governmental entity, officer, or employee. 28 U.S.C.
§ 1915A(a).
